                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


SITEL CORPORATION                           )
                                            )
       Plaintiff,                           )      Case No. 3:12-CV-259
                                            )      Magistrate Judge Bryant
v.                                          )
                                            )
AMERICAN HOME ASSURANCE CO.                 )
                                            )
       Defendants.                          )

                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on October 1, 2013.




                                                   KEITH THROCKMORTON, CLERK

                                                   s/ Leathelia Fernandez Allen
                                                   Deputy Clerk




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